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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION


HONEYFUND.COM, INC.,
PRIMO TAMPA, LLC,
CHEVARA ORRIN, and
WHITESPACE CONSULTING,
LLC D/B/A COLLECTIVE
CONCEPTS, LLC,
                                           Case No. 4:22-cv-227 (MW) (MAF)
       Plaintiffs,
                                           DEFENDANTS’ RESPONSE TO
       v.                                  OCTOBER 28, 2024 ORDER
                                           GRANTING UNOPPOSED
RON DESANTIS, in his official              MOTION TO EXTEND TIME TO
capacity as Governor of Florida,           RESPOND TO PLAINTIFFS’
ASHLEY MOODY, in her official              MOTION TO DETERMINE
capacity as Attorney General of            AMOUNTS OF ATTORNEYS’
Florida, DARRICK MCGHEE, in                FEES AND COSTS AND
his official capacity as the Chair of      NOVEMBER 19, 2024 NOTICE
the Florida Commission on Human            OF ACTION REQUIRED
Relations, et al.

       Defendants.




      Pursuant to this Court’s October 28, 2024 Order Granting Unopposed Motion

to Extend Time to Respond to Plaintiffs’ Motion to Determine Amounts of

Attorneys’ Fees and Costs (ECF 86) and November 19, 2024 Notice of Action

Required by District Judge, Defendants respectfully submit the following:
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      1.     On November 4, 2024, the parties agreed to settle Plaintiff’s entitlement

to attorneys’ fees and costs for the total amount of $725,000.00.

      2.     The parties have further agreed that the State of Florida shall have 30

days to make payment of the agreed amount directly to counsel for Plaintiff given

the State’s authorization and accounting requirements.

      3.     Counsel for Plaintiff has provided counsel for Defendants with all

information necessary for the State to issue payment of $725,000.00 divided

between Ropes & Gray LLP and Protect Democracy Project as instructed once all

required authorizations have been obtained. Dated: November 19, 2024

                                      Respectfully submitted,

                                      By: /s/ Timothy L. Newhall
                                      Timothy L. Newhall
                                      Florida Bar No. 391255
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                                      Counsel for Defendants




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